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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

UNITED STATES OF AMERICA


vs.                                                  CASE NO: 8:16-Cr-417-T-36AEP


FONTELLA JAMES
_________________________/


       DEFENDANT’S SENTENCING MEMORANDUM AND INCORPORATED
               MOTION FOR DOWNWARD DEPARTURE AND
                  MOTION FOR DOWNWARD VARIANCE


       COMES NOW, Defendant, FONTELLA JAMES, by and through the undersigned

attorney, and pursuant to the United States Sentencing Guidelines, and Title 18 U.S.C. § 3553(a),

and files this Sentencing Memorandum and Incorporated Motion for Downward Departure and

Motion for Downward Variance, and in support thereof sets forth the following:

                                SENTENCING MEMORANDUM

       As this Honorable Court is aware, when sentencing a defendant, a District Court is asked

to ““impose a sentence sufficient, but not greater than necessary” to accomplish the goals of

sentencing, including “to reflect the seriousness of the offense,” “to promote respect for the law,”

“to provide just punishment for the offense,” “to afford adequate deterrence to criminal conduct,”

and “to protect the public from further crimes of the defendant.” 18 U.S.C. § 3553(a).” Kimbrough

v. United States, 552 U.S. 85, 101 (2007). In determining an appropriate sentence, as to a

defendant in a specific case, the court should consider an array of other factors and an appropriate

sentence should reflect those concerns of the Court. See Kimbrough, supra; United States v.

Booker, 543 U.S. 220 (2005).
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       While a sentence within the Guidelines range is presumed reasonable, there is no

presumption that a sentence which falls outside of the Guidelines range is unreasonable. See Rita

v. United States, 551 U.S. 338 (2007). What is clear, is that, “a district judge must include the

Guidelines range in the array of factors warranting consideration. The judge may determine,

however, that, in the particular case, a within-Guidelines sentence is “greater than necessary” to

serve the objectives of sentencing.” Kimbrough v. U.S., 552 U.S. at 91. It is widely recognized

that courts are free to depart or vary from the Guidelines so long as the court states sufficient

justification for the extent of such. See United States v. Irey, 563 F.3d 1223 (11th Circuit

2009)(affirming variance from level life to 210 months in “utterly gruesome” case recognizing

that sentencing is the most difficult job a district judge performs); United States v. McBride, 511

F.3d 1293 (11th Circuit 2007)(affirming variance from 151 to 188 months to 84 months in child

pornography case); United States v. Clay, 483 F.3d 739 (11th Circuit 2007)(affirming 60 month

sentence even though the Guidelines were 188 to 235 months based on post-offense rehabilitation).

       In Pepper v. United States, 131 S.Ct. 1229 (2001), the United States Supreme Court

emphasized the need for individualized sentencing, and then in United States v. Booker, clearly

stated that the factors set-forth in 18 U.S.C. § 3553(a) must be considered in fashioning the

appropriate sentence. Some of these factors include the nature and circumstances of the offense,

the history and characteristics of the defendant, the sentencing range established by the Guidelines,

any pertinent policy statements, and the need to avoid sentencing disparity. See Gall v. United

States and Kimbrough v. United States supra.




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                HISTORY AND CHARACTERISTICS OF FONTELLA JAMES

       Fontella James is a thirty-seven (37) year old mother of two (2) minor children, and a third

child that is an eighteen (18) year old adult. Prior to her arrest in this case, Ms. James, except for

a nominal amount of child support she received on a weekly basis, was the primary provider for

her three (3) children. During this time Ms. James maintained good housing conditions for her

children, she ensured that they attended school regularly, and she made her best efforts to provide

for her children. Like many people, Ms. James began to suffer financial hardships, and regrettably,

she engaged in the conduct which has brought Ms. James to where she is today.

       Ms. James has accepted responsibility for her actions. While not a defense to these charges,

or any criminal conduct, Ms. James did what she did, not to live a lavish lifestyle, but simply in

her efforts to provide for her three (3) children and herself. Ms. James will undoubtedly serve a

term of incarceration in this case and that is the realization that she faces daily, that she will be

absent and unable to provide for her children because of her actions.

       Ms. James has had little contact with the criminal justice system, and has never faced a

criminal conviction. For an individual in her place, she must also now face the realization that she

will live the remainder of her life as a convicted felon. In a time when jobs and opportunities can

already be tough to come by, Ms. James must now accept responsibility for her actions and strive

to rebuild her life to continue to provide for her children. To do so, Ms. James has expressed her

desire to engage in educational and vocational training programs during any term of incarceration

that this Honorable Court may impose in this matter. These programs will afford her the

opportunity to better herself and additionally provide her the opportunity to make something

positive out of this situation upon her release.

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                    NATURE AND CIRCUMSTANCES OF THE OFFENSE

       An interesting, but not unique, aspect of this case is that at no time during the conduct that

Ms. James engaged in was there ever a risk of actual losses to the alleged victims. I offer this not

to justify her conduct, but as a way to set the picture for this Court.

       Ms. James became involved in this case after being approached by Vickie Bryant, an

individual who was prosecuted in a related case. Mr. Bryant was someone that was known to Ms.

James. He approached Ms. James, along with her named co-defendant in this case, and he was

looking to obtain personal identifying information (PII) that he could sell to another individual,

who was actually working as an informant with law enforcement. Ms. James and her named co-

defendant would obtain the PII from their workplace and subsequently provide it to Mr. Bryant.

Mr. Bryant would then sell that PII to the informant, who would then turn the information over to

law enforcement. The PII provided to Mr. Bryant, by Ms. James, was never actually used to

defraud a victim.

       What is interesting is that U.S.S.G. § 2B1.1, n. 1, defines a “victim” as “(A) any person

who sustained any part of the actual loss determined.” In the present case, while there was no

actual loss, there is recognition that the Guidelines provide for a “default” loss of $500.00 per

access device, pursuant to U.S.S.G. § 2B.1, n. 3(F)(i). Based on the number of access devices

stolen in this case (957), there is a Guideline imposed loss of $478,500.00. While correctly

calculated, based on the facts of this case and the number of access devices stolen, the defense

position would be that the loss amount determined under the Guidelines substantially overstates

the seriousness of the offense.



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       Pursuant to 18 U.S.C. § 3553(a), this is a factor that this Honorable Court may consider

when determining an appropriate sentence, that is sufficient, but not greater than necessary.

                          MOTION FOR DOWNWARD DEPARTURE

       On May 26, 2017, the United States filed a Motion for Downward Departure pursuant to

U.S.S.G. § 5K1.1, as to Count One only, based on Ms. James’ substantial assistance in connection

with this matter.

       Additionally, pursuant to U.S.S.G. § 5K2.0 and U.S.S.G. § 2B1.1(20)(C), the undersigned

will, at the time of sentencing, move this Honorable Court for a downward departure based on a

loss calculation, that, based on the facts of the case, results in a guideline that substantially

overstates the seriousness of the offense.

                           MOTION FOR DOWNWARD VARIANCE

       Based on the foregoing and pursuant to Title 18 U.S.C. § 3553(a), at the time of sentencing

in this matter, the undersigned will move this Honorable Court for a downward variance based on

the factors for this Court’s consideration when imposing a sentence in this matter. The undersigned

will be asking this Honorable Court to consider all relevant factors and impose a sentence that is

sufficient, but not greater than necessary, to: reflect the seriousness of the offense, promote respect

for the law, and to provide just punishment for the offenses; to afford adequate deterrence to

criminal conduct; and to protect the public from further crimes of the defendant.



Respectfully submitted this 14th day of June, 2017.




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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that the original of the foregoing has been furnished by Electronic
Filing to Sheryl L. Loesch, Clerk of the Court, U.S. District Court, Middle District of Florida,
located at U.S. Courthouse, 801 N. Florida Ave., #223, Tampa, FL 33602-3800, and that
notification of this filing will be sent to all interested persons on this 14th day of June, 2017.

                                                                 Respectfully Submitted


                                                                 _____/s/ David E. Little__________
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